                                           Case 3:23-cr-00225-JD Document 113 Filed 09/09/24 Page 1 of 2




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                                   3                                     UNITED STATES DISTRICT COURT

                                   4                                    NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                         UNITED STATES OF AMERICA,
                                   6                                                          Case No. 23-cr-00225-JD-1
                                                           Plaintiff,
                                   7
                                                    v.                                        ORDER FOR VOLUNTARY
                                   8                                                          SURRENDER
                                         GREGORY FINKELSON,
                                   9
                                                           Defendant.
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                                  12          Defendant has requested permission to report voluntarily, at defendant's own expense, to
Northern District of California
 United States District Court




                                  13   the federal institution designated by the Bureau of Prisons for service of defendant's sentence:

                                  14          IT IS HEREBY ORDERED THAT:

                                  15          (1)        A stay of execution of defendant's sentence is GRANTED on the conditions set

                                  16   forth below, and during the period of the stay, Defendant shall remain at large on Defendant's

                                  17   present cognizance.

                                  18          (2)        Defendant shall immediately report to the United States Marshal's Office, Room

                                  19   20006, 450 Golden Gate Avenue, San Francisco, for further instructions, which Defendant shall

                                  20   follow precisely.

                                  21          (3)        As notified by the United States Marshal, the Defendant shall report to the federal

                                  22   institution designated by the Bureau of Prisons on or before 2:00 p.m. on 9/16/2024. If there has

                                  23   been no designation made prior to the surrender date, then the Defendant is to report to the above

                                  24   office of the United States Marshal by 2:00 p.m. on the surrender date.

                                  25          (4)        Any failure by Defendant to obey all requirements of this order shall be punishable

                                  26   as a contempt.

                                  27                     FAILURE TO APPEAR as required in this Order constitutes a separate offense, a

                                  28   violation of Section 3146 of Title 18, United States Code, and is punishable by additional
                                           Case 3:23-cr-00225-JD Document 113 Filed 09/09/24 Page 2 of 2




                                   1   imprisonment of up to five years.

                                   2   Dated: 9/9/2024

                                   3                                         ______________________________________
                                                                             JAMES DONATO
                                   4                                         United States District Judge
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                                  12
Northern District of California
 United States District Court




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